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2                                                                                 J S -6
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                              UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
5
6     NATALY MORALES, individually and on Case No.: CV 21-6828-MWF (MRWx)
7     behalf of all others similarly situated,
                                               ORDER GRANTING VOLUNTARY
8                          Plaintiff,          DISMISSAL WITH PREJUDICE,
                                               PURSUANT TO FEDERAL RULE OF
9           v.                                 CIVIL PROCEDURE 41(a)(1)
10
11    PETERSON ENTERPRISES, LLC d/b/a
12    GEOFFREY’S MALIBU, a California
      limited liability company; and DOES 1 to
13
      10, inclusive,
14
                         Defendants.
15
16    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
17          On November 16, 2021, Plaintiff filed a notice of voluntary dismissal with prejudice,
18    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) [Dkt. 15].
19          Upon due consideration, good cause appearing, the Court DISMISSES this action
20    with prejudice as to Plaintiff’s individual claims. Each party must bear its own costs and
21    attorneys’ fees. The Clerk of Court is instructed to terminate all pending motions and
22    deadlines, and close the case.
23          IT IS SO ORDERED.
24
25    Dated: November 17, 2021              ________________________________
                                            MICHAEL W. FITZGERALD
26                                          United States District Judge
27
28
                                     1
        ORDER GRANTING VOLUNTARY DISMISSAL WITH PREJUDICE, PURSUANT
                 TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)
